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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

FLORIDA STATE CONFERENCE
OF BRANCHES AND YOUTH UNITS
OF THE NAACP, et al.,

      Plaintiffs,

v.                                              Case Nos.: 4:23cv215-MW/MAF

CORD BYRD, in his official capacity
as Florida Secretary of State, et al.,

     Defendants.
__________________________/

                    ORDER DENYING MOTION TO COMPEL

      This Court has considered, without hearing, Plaintiffs’ motion to compel, ECF

No. 249, Defendant Byrd’s response in opposition, ECF No. 253, and Plaintiffs’

reply, ECF No. 260. For the reasons set out below, Plaintiffs’ motion, ECF No. 249,

is DENIED.

      These consolidated cases involve constitutional challenges to several

provisions of Florida law regulating voter registration organizations and vote-by-

mail ballot requests. Time is of the essence in resolving these claims in light of

Purcell and several upcoming elections, including the general election in November

of this year. See League of Women Voters of Fla., Inc. v. Fla. Sec’y of St., 32 F.4th

1363, 1370–73 (11th Cir. 2022) (discussing and applying “Purcell principle” to stay
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injunction pending appeal). Defendant Byrd asserts the motion should be denied as

untimely, and, in the alternative, that the requested documents are covered by

attorney-client privilege and legislative privilege, a merits-determination that could

result in an interlocutory appeal and further delay of these time-sensitive cases. See

Pernell v. Fla. Bd. of Govs. of St. Univ. Sys., 84 F.4th 1339, 1342 (11th Cir. 2023)

(noting interlocutory appeal of order denying in part motion to quash subpoenas and

stay of discovery order at district court pending resolution of interlocutory appeal)

      Trial is set to begin on April 1, 2024. The discovery deadline expired on

January 2, 2024. See ECF No. 174 (extending deadline to January 2, 2024). Motions

to compel discovery were due no later than 30 days before the close of discovery—

in this case, December 4, 2023. See ECF No. 23 at 2. But here, Plaintiffs did not file

their motion until March 4, 2024, a full three months past the deadline. Ordinarily,

this Court would entertain an untimely motion upon “a showing of reasonable

diligence during the discovery period and the discovery dispute in question arose

during the last 30 days of discovery.” Id. But that is not the case here.

      Plaintiffs seek an Order from this Court compelling Defendant Byrd to

produce close to 200 documents that they say have been improperly withheld during

discovery. Plaintiffs point to, among other things, redacted emails that were

produced within and after the last 30 days of discovery and the failure of Defendant

Byrd to produce a timely privilege log. Indeed, Defendant Byrd did not produce a

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privilege log until February 16, 2024. But Plaintiffs never requested a privilege log

until January 30, 2024. This is so, despite Plaintiffs’ receipt of weekly batches of

redacted documents from Defendant Byrd between December 2023 and February

2024.

        Plaintiffs’ counsel are experienced attorneys in the context of election law

challenges and should, by now, understand that delay in these kinds of cases is

unacceptable. Here, this Court might have entertained a prompt motion to compel

had Plaintiffs properly conferred and filed their motion at the earliest indication that

documents had been withheld improperly. But Plaintiffs failed to act with the

necessary diligence in prosecuting their claims here. For this reason, Plaintiffs’

motion, ECF No. 249, is DENIED as untimely.

        This Court pauses to note that neither side’s hands are clean. It is deeply

troubling to this Court that defense counsel appears to have chosen to ignore their

obligations to timely provide a privilege log to Plaintiffs in compliance with the rules

and effectively run out the clock. Considering the way both sides have conducted

themselves in this litigation, this Court is obliged to more closely monitor the

lawyers who appear before it going forward.

        SO ORDERED on March 18, 2024.

                                        s/Mark E. Walker                   ____
                                        Chief United States District Judge


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